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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                                   Hon. Katharine S. Hayden
v.
                                                   Civ. No. 03-844
RAHMAN NICHOLS
____________________________________

                       ORDER REVOKING SUPERVISED RELEASE

       THIS MATTER having come before this Court on a Petition for Warrant or Summons for

Offender Under Supervision, dated July 13, 2011 (the “Petition”), and this Court holding a

supervised release violation hearing on October 5, 2011 at which the defendant pleaded guilty to

Violation no. 4 of the Petition,

       It is on this 15th day of November, 2011,

       IT IS HEREBY ORDERED, that the defendant’s term of supervised release is revoked.

       IT IS FURTHER ORDERED, that, the defendant is sentenced to four (4) months’

imprisonment to be followed by sixteen (16) months of supervised release. All previously imposed

standard and special conditions of supervised release listed in the defendant’s Judgment, dated May

29, 2007 (Docket Entry 666), are reinstated.

       IT IS FURTHER ORDERED, that the defendant submit to following additional special

conditions of supervised release: (a) four months’ community confinement, and (b) domestic

violence counseling as directed by the United States Probation Office.

       IT IS FURTHER ORDERED, that Violation Nos. 1, 2 and 3 of the Petition are dismissed.


                                                     /s/ Katharine S. Hayden
                                                     KATHARINE S. HAYDEN
                                                     UNITED STATES DISTRICT JUDGE
